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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
CIOX HEALTH, LLC,                         )
                                          )
      Plaintiff,                          )
                                          )
              v.                          )                   Case No. 18-cv-00040 (APM)
                                          )
ERIC D. HARGAN, et al.,                   )
                                          )
      Defendants.                         )
_________________________________________ )


                                             ORDER

       Defendants in this matter seek to stay briefing on Plaintiff’s motion for summary judgment,

pending resolution of their motion to dismiss. See Defs.’ Mot. to Stay, ECF No. 14. Defendants’

Motion to Stay became ripe for consideration on May 14, 2018, following Defendants’ filing of

their reply brief. See Defs.’ Reply, ECF No. 17. The court apologizes for the length of time it has

taken to address the procedural motion.

       Defendants’ Motion to Stay is denied. The over two-month time lag in addressing the

Motion, through no fault of the parties, has unnecessarily delayed moving this matter towards a

final resolution. Though threshold issues of standing and finality may obviate the need to reach

the merits, in the present circumstances, where the court’s inaction resulted in a needless delay, an

indefinite stay in summary judgment briefing is unwarranted and would be unfair to Plaintiff. Cf.

United States v. W. Elec. Co., 46 F.3d 1198, 1207 n.7 (D.C. Cir. 1995) (noting that “a trial court

has inherent power to control the sequence in which it hears matters on its calendar and to decide

whether to consolidate the proceedings on motions”).
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       Accordingly, the parties shall meet and confer and no later than July 27, 2018, submit a

joint status report that proposes a schedule to complete summary judgment briefing.




Dated: July 23, 2018                               Amit P. Mehta
                                                   United States District Judge




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